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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 WILLIAM T. MOCK; CHRISTOPHER LEWIS;
 MAXIM DEFENSE INDUSTRIES, LLC, a limited
 liability company; and FIREARMS POLICY
 COALITION, INC., a nonprofit corporation,

                                        Plaintiffs,
         v.

 MERRICK GARLAND, in his official capacity as Civil Action No. 4:23-cv-00095-O
 Attorney General of the United States; the UNITED
 STATES DEPARTMENT OF JUSTICE; STEVE
 DETTELBACH, in his official capacity as the
 Director of the Bureau of Alcohol, Tobacco,
 Firearms and Explosives; and the BUREAU OF
 ALCOHOL, TOBACCO, FIREARMS AND
 EXPLOSIVES,

                                        Defendants.

              PLAINTIFFS’ MOTION FOR INJUNCTION PENDING APPEAL

       Pursuant to Federal Rule of Civil Procedure 62(d) and Federal Rule of Appellate Procedure

8(a)(1)(C), Plaintiffs William T. Mock; Christopher Lewis; Maxim Defense Industries, LLC; and

Firearms Policy Coalition, Inc., through their undersigned counsel, move this honorable Court for

an injunction pending appeal prohibiting Defendants and their officers, agents, servants, and

employees from implementing and enforcing the provisions established and amended by the

Department of Justice and Bureau of Alcohol, Tobacco, Firearms, and Explosives’ Final Rule

entitled Factoring Criteria for Firearms with Attached ‘Stabilizing Braces’ (“Final Rule”), 88 Fed.

Reg. 6,478 (Jan. 31, 2023).

        As explained in the accompanying brief in support, Plaintiffs satisfy each factor for an

injunction pending appeal: (1) they are likely to succeed on the merits of their claims under the U.S.



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Constitution and the Administrative Procedure Act; (2) they continue to face irreparable injury absent

an injunction; (3) Plaintiffs’ injuries outweigh any harm that the injunction will cause Defendants

pending appeal; and (4) an injunction will serve the public interest. See Weingarten Realty Investors v.

Miller, 661 F.3d 904, 910 (5th Cir. 2011). Accordingly, Plaintiffs respectfully request that this Court

issue an injunction pending appeal.1

          Plaintiffs’ counsel conferred with counsel for Defendants, who oppose the relief requested

herein.

          DATED this 30th day of March 2023.

                                                Respectfully submitted,

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                                                /s/ Cody J. Wisniewski
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        If this Court declines to issue an injunction pending appeal, Plaintiffs respectfully request that
this Court do so as quickly as possible to allow Plaintiffs to pursue their claims with the U.S. Court of
Appeals for the Fifth Circuit. Due to the emergency nature of this case, Plaintiffs are forced to seek
Fifth Circuit review as quickly as possible. Plaintiffs’ irreparable harms grow by the day.


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                                *Admitted pro hac vice

                                Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I hereby certify that, on March 30, 2023, a true and correct copy of the foregoing document

was served via the Court’s CM/ECF system to all counsel of record.



                                            /s/ Cody J. Wisniewski
                                            Cody J. Wisniewski
                                            FIREARMS POLICY COALITION



                            CERTIFICATE OF CONFERENCE

       I hereby certify that, on March 30, 2023, Plaintiffs’ counsel, Cody J. Wisniewski conferred

with Defendants’ counsel, Jody Lowenstein, Michael Drezner, and Faith Lowry with the U.S.

Department of Justice, Civil Division, via email, who stated that Defendants oppose the relief

request in this Motion.



                                            /s/ Cody J. Wisniewski
                                            Cody J. Wisniewski
                                            FIREARMS POLICY COALITION




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